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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                  Plaintiff,                            8:13-CR-244

vs.
                                              PRELIMINARY ORDER OF
FROILAN CUEVAS and LUIS                            FORFEITURE
MEZA-GALVEZ,

                  Defendants.

       This matter is before the Court on the plaintiff's Motion for Issuance of
Preliminary Order of Forfeiture (filing 232). Count I of the superseding
indictment in this case (filing 141) charged the defendant Luis Meza-Galvez
with a violation of 21 U.S.C. §§ 841 and 846. Count II charged the defendant
Froilan Cuevas with a separate violation of 21 U.S.C. §§ 841 and 846. The
operative indictment also contained a forfeiture allegation seeking the
forfeiture, pursuant to 21 U.S.C. § 853, of the following properties, on the
basis that they were used to facilitate the commission of these offenses or
were derived from proceeds obtained, directly or indirectly, as a result of the
offenses:

      a.    $396.00 in United States currency seized from the person of
            JORGE MUNOZ-RAMON on May 23, 2013.

      b.    $226.00 in United States currency seized from the person of
            FROILAN CUEVAS on May 23, 2013.

      c.    $772.00 and $4,000.00 in United States currency seized
            from the apartment at 4131 S. 25th St. #12, on May 23,
            2013.

      d.    $4,900.00, $777.00, and $680.00 in United States currency
            seized from LUIS VALLEJO.

Filing 141 at 2–3.
      Cuevas and Meza-Galvez have pleaded guilty to the respective crimes
charged above and admitted the forfeiture allegation. See, filings 156, 157,
and 215 (Cuevas); and filings 194, 197, and 237 (Meza-Galvez). By virtue of
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pleading guilty to those charges and admitting the forfeiture allegation, these
defendants have forfeited their interests in the properties above, and the
plaintiff is entitled to possession of the properties pursuant to 21 U.S.C. §
853.1 Accordingly,

       IT IS ORDERED:

       1.     The plaintiff's Motion for Issuance of Preliminary Order of
              Forfeiture (filing 232) is granted.

       2.     Based upon the defendants' guilty pleas and admissions of
              the forfeiture allegation of the indictment, the plaintiff is
              authorized to seize the following properties:

              a.     $226.00 in United States currency seized from the
                     person of FROILAN CUEVAS on May 23, 2013.

              b.     $772.00 and $4,000.00 in United States currency
                     seized from the apartment at 4131 S. 25th St. #12, on
                     May 23, 2013.

       3.     The defendants' interests in the above properties are
              forfeited to the plaintiff for disposition in accordance with
              law, subject to the provisions of 21 U.S.C. § 853(n)(1).

       4.     The properties are to be held by the plaintiff in its secure
              custody and control.

       5.     Pursuant to 21 U.S.C. § 853(n)(1), the plaintiff shall
              publish for at least 30 consecutive days on an official

1 This order primarily addresses the properties that Cuevas and Meza-Galvez may have

had an interest in, and that were seized from their person or the apartment where Meza-
Galvez was arrested. The Court has already entered a preliminary order of forfeiture as to
the money seized from Luis Vallejo, who was found guilty after a jury trial. Filing 192. And
the final co-defendant, Jorge Muñoz-Ramon, has not yet gone to trial or pleaded guilty.
Neither Cuevas or Meza-Galvez have claimed any interest in the properties seized from
Vallejo or Muñoz-Ramon. For the sake of completeness, the Court finds that Cuevas and
Meza-Galvez have also forfeited any interests in those properties, which are mentioned in
paragraphs (a) and (d) of the operative indictment. Filing 141 at 3. However, it is not
necessary at this time for the Court to re-authorize the seizure of the property from Vallejo.
Filing 192. And it is not yet appropriate to formally authorize the seizure and set forth an
order for the disposition of the property seized from Muñoz-Ramon, as he has not been
found or pleaded guilty.

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           Internet government forfeiture site (www.forfeiture.gov)
           notice of this order, notice of publication evidencing the
           plaintiff's intent to dispose of the properties in such
           manner as the Attorney General may direct, and notice
           that any person, other than the defendant, having or
           claiming a legal interest in the properties must file a
           petition with the Court within 30 days of the final
           publication of notice or of receipt of actual notice,
           whichever is earlier.

     6.    Such published notice shall state that the petition referred
           to in paragraph 5, above, shall be for a hearing to
           adjudicate the validity of the petitioner=s alleged interest in
           the properties, shall be signed by the petitioner under
           penalty of perjury, and shall set forth the nature and extent
           of the petitioner's right, title, or interest in the properties
           and any additional facts supporting the petitioner=s claim
           and relief sought.

     7.    The plaintiff may also, to the extent practicable, provide
           direct written notice to any person known to have alleged
           an interest in the properties as a substitute for published
           notice as to those persons so notified.

     8.    Upon adjudication of all third-party interests, this Court
           will enter a final order of forfeiture pursuant to
           21 U.S.C. § 853(n), in which all interests will be addressed.

     Dated this 10th day of April, 2014.

                                           BY THE COURT:



                                           John M. Gerrard
                                           United States District Judge




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